851 F.2d 356Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert Wade NEWCOMB, Plaintiff-Appellant,v.Thomas JONES, Sheriff;  Charlotte County Sheriff'sDepartment;  Charlotte Court House, Virginia,Defendants-Appellees.
    No. 88-6552.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 28, 1988.Decided:  July 5, 1988.
    
      Robert Wade Newcomb, appellant pro se.
      Before MURNAGHAN, WILKINSON and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Robert Wade Newcomb appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Newcomb v. Jones, C/A No. 87-1336-AM (E.D.Va. Dec. 21, 1987).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    